Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 1 of 6 PagelD #:1

RECEIVED * ore ences

JAN 14 2020. UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

    

THOMAS G. SRUTON
CLERK, U.S. DISTRICT COURT Diversity of Citizenship/Jurisdiction

Cook County Circuit Court, |
Juvenile Justice Child Protection Division,

 

Chief Judge Timothy C. Evans, INFERIOR LOW [ R COURT’S
State’s Attorney Kim Foxx, Case No: 19 JA 1546/19 JA 1547/ SCR No: 1867575-B
Clerk of Circuit Court Dorothy Brown,
J milge. Peter Vilkelis |
loan Sing ‘ce (DCFS Investigator), |
z | DCFS Supervisor),
-(DCFS Director),
inlap (DCFS Investigator), Case 20-cv-266
B (BEES SupeINT Judge Elaine E. Bucklo
ith (Acting Director), Magistrate Judge Sidney |. Schenkier

Defendants — Appellees,
VS,

lichelle Fost »y (Real Party of Paramount Interest)
On behalf of the e [NICHELLE FOSTER], civility mortuuse,

On Renal of the asin IN A DASUELLE CARLOYN FOSTER],

and Viaca
Plaintiff — " Appellant

NOTICE BY AFFIDAVIT FOR EMERGENCY HEARING

Please take notice:

A Foreign National and her heirs have been kidnapped with the use of Human Trafficking.
“Indigenous peoples have the collective right to live in peace and security as distinct people’s and
shall not be subjected to any genocide or any other act of violence, including forcibly removing
children of the group to another group.” (see Article 7 of U-Drip Rights of Indigenous People). “Wife
you must obey your husband and take care of your children and look after the duties of your
household” (see: attached Act 7 of The Moorish Science Temple of America, The Divine Constitution

and By-Laws- Eccles. Law).

Article IV of the constitution authorizes congress to pass laws describing the cause and effect of
various legal system then existing in the several states. The common law groups (states) are defined
as “Foreign States”. This definition can be found in USC Title 28, 1603:

1. “A ‘foreign state’...”
Z

All Rights Reserved

 
Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 2 of 6 PagelD #:1

mec Wi Ho hae ; : ig. eel ae : : se wna wal va a
rincinie ic Notice to Agent: atica ta Agent is Natice to Princink
( rincipie 18 Notice T0 APCNT. NOTICE LO AREAL 1s LNULILE EU A A AEES pie

   

2. “... any entity”
3. “which is a separate legal person...”

“Which is neither a citizen of a state of the United States... nor created under the laws of any third

country.

Now, comes Nichelle Foster- Bey, a flesh. and blood sentient being, over the lawful age of 21,
with majority of all her sense and faculties, a{‘iant domiciles in the Northwest Territory, primarily
consisting of the combined territories of what is s referred today as the Great Lakes Region ( Lakes:
Huron, Ontario, Michigan, Erie and Superior) 2ffiant is a Moorish America, not an (UNITED
STATES So ea nn affiant is part of a special class (see: et Truth solety as in library of
congress), the rights of a{fiant and class extends to aiiia nt’s heirs/c n/property as well.

1. Appellant-Petitioner is claiming a right to a “Common Law” trail as a Federally
Protected Right.

2. Appellant-Petitioner has been purposely denied access to lower court records relevant
to case and religious council.

3. Appellant-Petitioner has timely and throughout this case, identified affiant as a
“Foreign”, “Alien” to the “UNITED STATES”.

5. Appellant-Petitioner is being denied “Due Process of Law”.
‘s/children/property have been kidnapped and unlawfully detained by THE

DEPARTMENT OF CHILDREN AND FAMILY SERVICES AND THE COOK COUNTY
CIRCUIT COURT JUVENILE DIVISION. |

 

Affiant has been a previous victim of THE DEPARTMENT r OF careeion AND EAMILY
SERVICES six(6) months ago which ended in the returi of a ’s heirs sichitdre n/pt y after
: had presented proper documentation of # ” Affidavit(s) of Declaration of ‘Nationality,
Jurisdictional Statement, and Denial of Compare ixtstence.
THE DEPARTMENT OF CHILDREN AND FAMILY SERVICES and COOK COUNTY
CIRCUIT COURT JUVENILE DIVISON is using the basis of case SCR Nos 1867575-B to move
forward with Case Numbers: 19 JA 1546/19 JA 1547.
In SCR No: 1867575-B Allegation 60 Se Risk of Physical injury/Ravitonment Injurious to
Health and Welfare) was used against a! , in a class action case Ashley M vy, Illinois Department
of Children and Family Services No 2013 CH 20278 that was settled in Cook County and stated that
DCFS could no loner use Allegation 60 because of it being used as a blanked statement that
required no evidence to support it, and that the Director had consented and was obligated to insure
that all DCFS staff was to be retrained and not to employ the Allegation 60 [Rieke against Illinois

Mothers.

3 |
All Rights Reserved
Notice to Principle is Notice to Agent: Notice to Agent is Notice to Hrinciple
8 s I

Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 3 of 6 PagelD #:1 i

 

THE DEPARTMENT OF CHILDREN AND FAMILY SERVICES is seeking revenge against
affiant for previously standing on affiant’s alien and unalienable rights (those known and
unknown) as a Foreign National and a member of the Moorish Science Temple of America.

The COOK COUNTY CIRCUIT COURT JUVENILE DIVISION has blatantly ignored afiiant’s
status and affiant’s right to Due Process of Law.

As a result of this unlawful detention of affiant’s heirs/children, affiant is invoking the Writ of
Habeas Corpus relief and demand for Emergency Hearing before the proper Federal Venue.

Furthermore, affiant sayeth naught.

Date: 01/02/2020

. al L/S
eople”

 

Subscribed and Affirmed: to before me
this 2°" day of January, 2020. —

— 2 -
Notary Signature: ios = S \Se.04k

4
All Rights Reserved

 
Notice to Principle is Notice to Agent: Notice to Agent is Notice to F rinciple

Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 4 of 6|PagelD #:1 Hl

 

Proof of Service

Please take notice:

 

affiant’s Affidavit(s) Notice of Filing and Notice by Affidavit for Emergency Hearing to

That, Nichelle Foster-Bey, on this 2nd day of January 2019 that I mer have cause to file
go Illinois [60604]

Clerk of the United States District Court Care of: 219 S Dearborn Chic
through Register Mail.

Date: 01/02/2020 By: Widen LIS

“one of th hy people”

5
All Rights Reserved

 
 

Notice to Principle is Notice to Agent: Notice to Agent is Notice to Principle

Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 5 of 6|PagelD #:1 MN

Please take notice:

‘fiant’s Fee Schedule

d

A
f

 

damages in the amount of

2. Respondents shall be penalize/charge for mental anguish for treble
damages in the amount of $12,000,000,000.00

ed

|%

3. Respondents shall be _ penalize/charge for conspiracy to
denationalization
for treble damages in the amount of $100,000,000,000.00 x

9
Je

4. Respondents agree to pay for all court cost (both private and public)
That it takes to bring this administrative claim to a full and plenary

conclusion.

Total: $ 396,000,000,000.00

6

All Rights Reserved

 
Case: 1:20-cv-00266 Document #: 1 Filed: 01/14/20 Page 6 of 6|PagelID #:1

» to Brincinle

ULICe LU

   

 

fs i 7 E cy UNITED STATES DISTRICT COURT
KOR THE NORTHERN DISTRICT OF ILLINOIS
VW JAN 14 |
wv AN 2020 Diversity of Citizenship/Jurisdiction/Political Status
THOMAS G. 8RUTON |
CLERK, U.S. |
K, U.S. DISTRICT COURT Case No: 19 JA 1546/19 JA 1547/ SCR No: 1867575-B

 

|
Cook County Circuit Court, |
Juvenile Justice Child Protection Division,
Chief Judge Timothy C. Evans, Case 20-cv-266
State’s Attorney Kim Foxx, Judge Elaine E. Bucklo
Clerk of Circuit Court Dorothy Brown, Magistrate Judge Sidney |. Schenkier
J ee Peter Vilkelis
Joan Sin -e (DCFS Investigator),
ng ¢ (DCFS Supervisor),
silva a DCF S Director),
ilap (DCES Investigator),
soyd (DCES Supervisor),
h (Acting Director),
Defendants — Appellees.

VS,

Nichelle Fost »y (Real Party of Paramount Interest)
On behalf of the e [NICHELLE FOSTER], civility mortuuse,

On behalf of the sel UN ss ipa CARLOYN FOSTER]

 

and \Via
Plaintiff - " Apasilis
Notice of Filing
Now come, Nichelle Foster-Bey, on behalf of [NICHELLE FOSTER] civility
mortuus, third nanity agent with a paramount interest and do tender the
following: |
I, Nichelle Foster-Bey, (herein after a at), shall file attachment(s)

entitled Affidavit(s) Nafice of ; Filing and Notice. by Affidavit for Emergency
Hearing Clerk of the United States District Court Care of: 219 S Dearborn

Chicago Illinois [60604] through Register Mail. |

<q]
Date: 01/02/2020 oll 3 L/S

1

All Rights Reserved

 

 
